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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 10-23548-CIV-COOKE/TURNOFF

   HUMBERTO REYES,

           Plaintiff,

   vs.

   AQUA LIFE CORP.,

         Defendant.
   ______________________________________/

         DEFENDANT AQUA LIFE CORP.’S MOTION FOR SANCTIONS
         FOR PLAINTIFF’S FAILURE TO ATTEND OCTOBER 17, 2011
               DEPOSITION AND REQUEST FOR HEARING
           Pursuant to Rule 37(d)(1)(A)(i), Federal Rules of Civil Procedure,

   Defendant Aqua Life Corp. moves for sanctions for the failure of plaintiff and his

   legal representative to attend plaintiff’s October 17, 2011 deposition. Defendant

   also requests a hearing on this motion. The undersigned counsel conferred with

   counsel for plaintiff regarding the basis of this motion, but no resolution could be

   reached.

                                       ARGUMENT

           After unilaterally cancelling the first deposition on October 7, plaintiff and

   his attorney did not show up for plaintiff’s October 17, 2011 deposition, claiming

   no notice of deposition was ever received. Rule 37(d)(1)(A)(i), Federal Rules of

   Civil Procedure, states in pertinent part: “The court … may, on motion, order

   sanctions if … a party … fails, after being served with proper notice, to appear for


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   that person’s deposition.” That deposition was noticed by email and regular mail

   on October 6, 2011.     The Court Reporter’s Certificate of Non-Appearance is

   attached hereto as Exhibit “1.” The notice of deposition is attached hereto as

   Exhibit “2.” The email sending the notice of deposition is attached hereto as

   Exhibit “3.” Beyond that, the existence of that notice of deposition was referenced

   on page 3, last paragraph of DE 65, which is Defendant’s motion to compel

   deposition of plaintiff because plaintiff did not attend his October 7, 2011

   deposition.

         On the morning of the October 17, 2011 deposition at about 9:55 am, the

   undersigned counsel contacted plaintiff’s counsel’s legal assistant who stated that

   plaintiff’s counsel never got the notice of deposition and would not appear with the

   plaintiff. The email confirming that is attached hereto as Exhibit “4.”

         Plaintiff’s counsel is clearly obstructing the discovery process. Clearly the

   plaintiff’s counsel knew about the deposition by email, mail, and by clear reference

   in defendant’s motion to compel plaintiff’s deposition [DE 65]. This is not a mere

   mistake and plaintiff’s counsel has shown repeated obstruction of discovery.

   Plaintiff refuses to answer basic interrogatories, document requests, or specify his

   damages, all of which are subject to pending motions to compel in DE 51, 60, and

   61. Plaintiff would not produce his witness list without a motion to compel [DE

   56]. Plaintiff’s counsel nevertheless has found the time to take four depositions of


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   defendant’s officers and another key employee. Plaintiff’s counsel apparently

   believes the defendant can do nothing to remedy this.

         Defendant had to hire a Spanish language interpreter, a court reporter, and

   waste an hour of after the 9 am deposition, to discover at 10 am that there would be

   no deposition because plaintiff’s counsel falsely contended he never got the notice

   of deposition. The undersigned counsel anticipated this might happen and that is

   why defendant had filed the motion to compel plaintiff’s deposition in DE 65.

         Defendant requests in DE 65 an order compelling the deposition of plaintiff,

   and seeks in this motion that the plaintiff and plaintiff’s counsel reimburse

   defendant for its costs and attorney time for the wasted hour and the attorney time

   in connection with this motion.


                                     Respectfully submitted,
                                     Peter T. Mavrick, P.A.
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                                     BY:s/Peter T. Mavrick__
                                     Peter T. Mavrick
                                     FL Bar No.: 0083739




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                                  CERTIFICATE OF SERVICE
   I HEREBY CERTIFY that a true and correct copy of the foregoing was served by means of the
   Court’s electronic filing system on October 17, 2011 on all counsel of record or parties on the
   attached service list.
                                       BY:s/Peter T. Mavrick__
                                       Peter T. Mavrick
                                       FL Bar No.: 0083739




   SERVICE LIST

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